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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Obj. Deadline: Sept. 18, 2024 at 4:00 p.m. ET


     TWENTIETH MONTHLY FEE STATEMENT OF LANDIS RATH & COBB LLP AS
    BANKRUPTCY CO-COUNSEL TO THE DEBTORS AND DEBTORS-IN-POSSESSION
       FOR COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
          REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
           FROM JULY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024

Name of Applicant                                             Landis Rath & Cobb LLP
Authorized to Provide Professional Services to:               the Debtors and Debtors-in-Possession
Date of Retention:                                            January 9, 2023 nunc pro tunc to
                                                              November 11, 2022
Period for which compensation and                             July 1, 2024 through July 31, 2024
reimbursement is sought:
Amount of Compensation sought as actual,                      $688,073.00
reasonable and necessary:
80% of Compensation sought as actual,                         $550,458.40
reasonable and necessary:
Amount of Expense Reimbursement sought as                     $6,299.01
actual, reasonable, and necessary:


This is a(n) X monthly ____ interim ____ final application. No prior application has been filed
with respect to this Fee Period.




1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
     of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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                                    PRIOR FEE STATEMENTS FILED

   Date Filed          Period Covered         Requested          Requested        Approved 2      Approved
                                                 Fees            Expenses           Fees          Expenses
      2/7/2023              11/11 –          $1,155,186.50        $16,008.71       $924,149.20     $16,008.71
                          12/31/2022
     3/6/2023           1/1 – 1/31/2023        $663,695.50         $20,696.39       $530,956.40    $20,696.39
     3/17/2023         11/1 – 1/31/2023      $1,818,882.00         $36,705.10     $1,801,382.00    $36,705.10
  (First Interim)
     4/4/2023           2/1 – 2/28/2023        $582,604.00         $10,522.10       $466,083.20    $10,522.10
     4/28/2023          3/1 – 3/31/2023        $639,694.00          $4,638.18       $511,755.20     $4,638.18
     6/1/2023           4/1 – 4/30/2023        $432,505.00          $2,343.66       $346,004.00     $2,343.66
     6/15/2023          2/1 – 4/30/2023      $1,654,803.00         $17,503.94     $1,597,853.00    $17,503.94
(Second Interim)
     6/30/2023          5/1 – 5/31/2023        $334,060.00          $8,046.50       $267,248.00     $8,046.50
     8/1/2023           6/1 – 6/30/2023        $466,634.00         $17,677.75       $373,307.20    $17,677.75
     8/30/2023          7/1 – 7/31/2023        $327,227.50          $3,080.88       $261,782.00     $3,080.88
     9/15/2023          5/1 – 7/1/2023       $1,127,921.50         $28,805.13     $1,091,850.25    $28,805.13
 (Third Interim)
     9/29/2023         8/1 – 8/31/2023         $396,808.50         $10,377.73       $317,446.80    $10,377.73
    10/31/2023         9/1 – 9/30/2023         $324,074.00          $6,586.88       $259,259.20     $6,586.88
    11/29/2023        10/1 – 10/31/2023        $353,164.50          $5,308.99       $282,531.60     $5,308.99
    12/15/2023        8/1 – 10/31/2023       $1,074,047.00         $22,273.60     $1,047,788.60    $22,273.60
(Fourth Interim)
    12/22/2023        11/1 – 11/30/2023        $345,263.50          $7,846.63       $276,210.80     $7,846.63
     1/31/2024        12/1 – 12/31/2023        $349,562.50          $4,128.50       $279,650.00     $4,128.50
     2/29/2024         1/1 – 1/31/2024         $591,561.50         $11,663.33       $473,249.20    $11,663.33
     3/15/2024            11/1/2023 –        $1,286,387.50         $23,638.46     $1,268,995.75    $23,627.49
  (Fifth Interim)          1/31/2024
     3/28/2024         2/1 – 2/29/2024         $583,267.00          $7,119.87      $466,613.60     $7,119.87
     4/26/2024         3/1 – 3/31/2024         $667,850.75         $18,572.84      $534,280.60    $18,572.84
     5/31/2024         4/1 – 4/30/2024         $482,536.50          $1,955.67      $386,029.20     $1,955.67
     6/14/2024         2 /1 – 4/30/2024      $1,733,654.25         $27,648.38      Pending        Pending
 (Sixth Interim)
      7/5/2024          5/1 – 5/31/2024        $569,632.00          $2,074.45      $455,705.60      $2,074.45
      7/31/2024         6/1 – 6/30/2024        $607,884.50         $22,293.72      $486,307.60     $22,293.72




  2
        Approved amounts reflect LRC’s agreed reductions with the Fee Examiner.

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                        SUMMARY OF BILLING BY PROFESSIONAL
                    JULY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024

                                                    Year of                             Total
                                          Year of                          Hourly                      Total
 Timekeeper Name            Position               Law School                           Hours
                                         Admission                         Rate 3                   Compensation
                                                   Graduation                           Billed
                                         NY 1992,
Adam G. Landis             Partner       MA 1992, May, 1991               $1,275           24.40       $31,110.00
                                         DE 1996
                                         DE 1993,
Richard S. Cobb            Partner                 May, 1992              $1,275           10.20       $13,005.00
                                         PA 1994
                                         PA 2000,
Rebecca L. Butcher         Partner                 May, 1999              $1,025            1.40         1,435.00
                                         DE 2001,
                                         PA 2001,
Matthew B. McGuire         Partner                 May, 2000              $1,025           64.70       $66,317.50
                                         DE 2003
Kimberly A. Brown          Partner       DE 2008         May, 2008        $925           163.30       $151,052.50

Matthew R. Pierce          Partner       DE 2013         May, 2013        $750           125.20        $93,900.00
Partner Total                                                                            389.20       $356,820.00
Nicolas E. Jenner          Associate DE 2018             May, 2018        $600            32.70        $19,620.00
                                     PA 2020,            January,
Howard W. Robertson        Associate                                      $535             84.80       $45,368.00
                                     DE 2021             2020
                                     NY, 2021,
Elizabeth A. Rogers        Associate                     May 2019         $535           111.10        $59,438.50
                                     DE, 2024
George A. Williams         Associate DE 2022             May, 2021        $450           214.20        $96,390.00
                                     DE 2022,
Clifford R. Wood, Jr.      Associate                     May, 2022        $395           178.90        $70,665.50
                                     PA 2023
Associate Total                                                                          621.70       $291,482.00
Lawyers Total                                                                           1010.90       $648,302.00
Melissa Ramirez      Paralegal           N/A             N/A              $350            54.10        $18,935.00
Mark Hitchens        Paralegal           N/A             N/A              $350            43.20        $15,120.00
Linda M. Rogers      Paralegal           N/A             N/A              $350             8.30         $2,905.00
Jennifer Ford        Paralegal           N/A             N/A              $350             2.00           $700.00
Joshua Huynh         Paralegal           N/A             N/A              $310             6.10         $1,891.00
                     Legal
Allison Strauss                          N/A             N/A              $220              1.00         $220.00
                     Assistant
Non-Legal Personnel Total                                                                114.70        $39,771.00
GRAND TOTAL                                                                             1125.60       $688,073.00

                                        Blended Hourly Rate: $611.29




   3
       LRC’s billing rates have not changed during the Fee Period (defined below).

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                    STATEMENT OF FEES BY PROJECT CATEGORY 4
                  JULY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024

                          Project Name                                                  Hours          Fee Amount
B112 - Asset Disposition                                                                   24.20         $19,758.00
B114 - Assumption/Rejection of Leases and Contracts                                         0.50            $395.00
B120 - Business Operations                                                                 11.10          $6,254.00
B122 - Case Administration                                                                 74.60         $35,634.00
B124 - Claims Administration & Objections                                                 422.70        $241,682.50
B134 - Hearings                                                                            29.40         $14,167.50
B135 - Litigation                                                                         195.80        $128,138.50
B138 - Committee Meetings/Communications                                                    0.10             $92.50
B140 - Creditor Inquiries                                                                   2.90          $2,200.00
B146 - Plan and Disclosure Statement (including Business Plan)                            170.80        $119,726.50
B150 - Relief from Stay                                                                    18.80         $15,683.50
B151 - Schedules/Operating Reports                                                         19.50          $8,562.00
B154 - LRC Retention Applications & Disclosures                                            13.30          $7,225.50
B155 - Non-LRC Retention Applications & Disclosures                                         6.80          $4,952.50
B156 - LRC Fee Applications                                                                62.40         $41,292.50
B157 - Non-LRC Fee Applications                                                            71.70         $41,556.00
B160 - Examiner                                                                             1.00            $752.50
TOTAL                                                                                   1,125.60        $688,073.00




4
    The subject matter of certain time entries may be appropriate for more than one project category. In such instances,
    time entries generally have been included in the most appropriate category. Time entries do not appear in more
    than one category.

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              SUMMARY OF ACTUAL AND NECESSARY EXPENSES

                               Disbursement Summary
         Expense Category            Service Provider, if Applicable    Amount
In-house Copying                    N/A                                    $669.80
Outside Printing                    Parcels, Inc.                        $3,635.80
Online Research                     Relx Inc. DBA LexisNexis             $1,823.60
Delivery Services/Messengers        Parcels, Inc.                            $0.00
Meals                               Various                                $102.91
Document Retrieval                  PACER                                   $66.90
Filing Fee                          US Bankruptcy Court                      $0.00
Hearing Transcripts                 Reliable Wilmington                      $0.00
Service Fees                        Parcels, Inc.                            $0.00
                                                             TOTAL       $6,299.01




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

         Debtors.                                                (Jointly Administered)



     TWENTIETH MONTHLY FEE STATEMENT OF LANDIS RATH & COBB LLP AS
    BANKRUPTCY CO-COUNSEL TO THE DEBTORS AND DEBTORS-IN-POSSESSION
       FOR COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
          REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
           FROM JULY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024

                  Landis Rath & Cobb (“LRC”), bankruptcy co-counsel to FTX Trading Ltd. and its

affiliated debtors and debtors-in-possession in the above-captioned cases (collectively, the

“Debtors”), hereby submits this twentieth monthly fee statement (this “Monthly Fee Statement”)

for compensation for professional services rendered and expenses incurred for the period from

July 1, 2024 through and including July 31, 2024 (the “Fee Period”). In support of the Monthly

Fee Statement, LRC respectfully states as follows:

                                                    Background

                  1.        On November 11 and November 14, 2022, 2 the Debtors filed with the

United States Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for

relief under title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended or modified,

the “Bankruptcy Code”). The Debtors continue to operate their businesses and manage their


1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
     of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
     November 11, 2022 is the petition date for all Debtors, except for Debtor West Realm Shires Inc.
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properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. Joint administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the

Court by entry of an order on November 22, 2022 [D.I. 128]. On December 15, 2022, the Office

of the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an

Official Committee of Unsecured Creditors (the “Committee”) pursuant to section 1102 of the

Bankruptcy Code [D.I. 231].

               2.       On January 9, 2023, the Court entered the Order Authorizing the

Employment and Retention of Landis Rath & Cobb LLP as Bankruptcy Co-Counsel, Nunc Pro

Tunc to the Petition Date, Pursuant to Bankruptcy Code Section 327(a), Bankruptcy Rules 2014

and 2016 and Local Rule 2014-1 [D.I. 428] (the “LRC Retention order”) authorizing the

retention and employment of LRC as the Debtors’ bankruptcy co-counsel, nunc pro tunc to

November 11, 2022.

               3.       On January 9, 2023, the Court entered the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435]

(the “Interim Compensation Order”).

               4.       On March 8, 2023, the Court entered the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses [D.I. 834] appointing Katherine Stadler (the “Fee Examiner”) to

serve as the fee examiner in these Chapter 11 Cases and establishing certain procedures in

connection therewith.

                                        Relief Requested

               5.       By this Monthly Fee Statement and in accordance with the Interim

Compensation Order, LRC makes this application for (i) allowance of compensation as an

administrative expense of the Debtors’ estates in the amount of $688,073.00 for reasonable and
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necessary professional services rendered, (ii) payment of compensation in the amount of 80%

thereof (in the amount of $550,458.40) and (iii) payment of $6,299.01 for actual and necessary

expenses incurred.

       a. Compensation Requested

               6.      The services performed by LRC during the Fee Period included, among

others, (i) preparing and/or assisting in the preparation, finalization and filing of various

pleadings and orders submitted to the Court and served on parties in interest; (ii) regularly

conferring with the Debtors, their other professionals and various parties-in-interest regarding

issues related to the Chapter 11 Cases and the various pleadings filed herein; (iii) preparing for

and participating in the hearings held in the Chapter 11 Cases; and (iv) researching and advising

the Debtors and their other professionals with respect to numerous issues in connection with the

Chapter 11 Cases. Attached hereto as Exhibit A is a detailed itemization, by project category, of

all services performed by LRC with respect to the Chapter 11 Cases during the Fee Period. This

detailed itemization complies with Local Rule 2016-2 in that each time entry contains a separate

time allotment, a description of the type of activity and the subject matter of the activity, all time

is billed in increments of one-tenth (1/10) of an hour, time entries are presented chronologically

in categories, and all meetings or hearings are individually identified.

               7.      The timekeepers who rendered services related to each category are

identified in Exhibit A, along with the number of hours for each individual and the total

compensation sought by each category. All services for which LRC requests compensation were

performed for, or on behalf of, the Debtors.




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        b. Expense Reimbursement

                 8.      LRC incurred out-of-pocket expenses during the Fee Period in the amount

of $6,299.01. Attached hereto as Exhibit B is a description of the expenses actually incurred by

LRC in the performance of services rendered as bankruptcy co-counsel to the Debtors. The

expenses are broken down into categories of charges, which may include, among other things,

the following charges: photocopying, printing, outgoing facsimiles, document retrieval, postage,

third-party conference calls, messenger service, transcripts, computerized legal research, filing

fees, working meals, secretarial overtime, and other expenses.

                 9.      In order to more efficiently handle the voluminous copying of pleadings

served and filed in these Chapter 11 Cases, LRC on occasion retained third-party duplication

service providers. LRC seeks reimbursement only for the actual expenses charged by such third-

party service providers.

                 10.     In accordance with section 330 of the Bankruptcy Code, LRC seeks

reimbursement only for the actual cost of such expenses to LRC. LRC submits that all such

expenses incurred were customary, necessary and related to the Chapter 11 Cases and, by this

Monthly Fee Statement, requests reimbursement of the same. 3

                                           Valuation of Services

                 11.     Professionals of LRC have expended a total of 1125.50 hours in

connection with this matter during the Fee Period.

                 12.     The amount of time spent by each of the professionals providing services

to the Debtors for the Fee Period is set forth in Exhibit A. The rates are LRC’s regular hourly



3
    LRC reserves all rights with respect to any expense cap sought to be imposed or otherwise enforced by the Fee
    Examiner or the U.S. Trustee that is not consistent with or deviates from the Local Rules or applicable orders
    entered by the Court in these Chapter 11 Cases.

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rates of compensation for work of this nature. The reasonable value of the services rendered by

LRC for the Fee Period as bankruptcy co-counsel for the Debtors in the Chapter 11 Cases is

$688,073.00.

               13.     LRC submits that the time entries included in Exhibit A attached hereto

and the expense breakdown set forth in Exhibit B attached hereto are in compliance with the

requirements of Local Rule 2016-2.

               14.     In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, the amount requested is fair and reasonable given the complexities of these

Chapter 11 Cases, the time expended, the nature and extent of the services rendered, the value of

such services, and the costs of comparable services other than in a case under this title.

                             Certificate of Compliance and Waiver

               15.     The undersigned representative of LRC certifies that she has reviewed the

requirements of Local Rules 2016-2 and that the Monthly Fee Statement substantially complies

with such rule. To the extent that the Monthly Fee Statement does not comply in all respects with

the requirements of Local Rule 2016-2, LRC believes that such deviations are not material and

respectfully requests that any such requirements be waived.

                                   Notice and No Prior Request

               16.     Notice of this Monthly Fee Statement has been given to the following

parties or, in lieu of, to their counsel, if known: (a) the U.S. Trustee; (b) the Committee; (c) the

Fee Examiner; and (d) all parties required to be given notice in the Interim Compensation Order.

LRC submits that no other or further notice is necessary.

               17.     No prior request for the relief sought in this Monthly Fee Statement has

been made to this or any other Court.



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               WHEREFORE, LRC respectfully requests that the Bankruptcy Court (i) approve

the Monthly Fee Statement and (ii) grant such further relief as is just and proper.

Dated: August 29, 2024                      LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                            /s/ Kimberly A. Brown
                                            Adam G. Landis (No. 3407)
                                            Kimberly A. Brown (No. 5138)
                                            Matthew R. Pierce (No. 5946)
                                            919 Market Street, Suite 1800
                                            Wilmington, Delaware 19801
                                            Telephone: (302) 467-4400
                                            Facsimile: (302) 467-4450
                                            E-mail: landis@lrclaw.com
                                                    brown@lrclaw.com
                                                    pierce@lrclaw.com

                                            Counsel for the Debtors
                                            and Debtors-in-Possession




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